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                        UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_____________________________________________________________________

 H&S CONTRACTING, INC., et al,                        Civil Nos. 17-355 (JRT/LIB)

                      Plaintiffs,

 v.
                                                   ORDER ADOPTING REPORT
 KINETIC LEASIN, INC, et al,                       AND RECOMMENDATIONS

                      Defendants,

________________________________________________________________________

       H&S Contracting, Inc, and Tracy A. Hazelton, pro se plaintiffs.

       Joseph A Wetch , Jr, SERKLAND LAW FIRM, 10 Roberts Street, P.O.
       Box 6017, Fargo, ND 58108-6017, for defendant Kinetic Leasing, Inc.

       Jeffry C Braegelmann, GISLASON & HUNTER LLP - NEW ULM, PO
       Box 458, New Ulm, MN 56073-0458, for defendant First Bank & Trust.

       Based upon the Report and Recommendation of United States Magistrate Judge

Leo I. Brisbois, and after an independent review of the files, records and proceedings in

the above-entitled matter, IT IS HEREBY ORDERED that:

       1.     Defendant First Bank and Trust’s Motion for Summary Judgment, [Docket

              No. 30], is GRANTED in part and DENIED in part.

       2.     The proceeds from the September 16, 2016, sale of the Equipment which

              are on deposit with the Court should be distributed to First Bank & Trust.

       3.     Defendant Kinetic Leasing, Inc.’s Motion for Summary Judgment, [Docket

              No. 43], is DENIED.

       LET JUDGMENT BE ENTERED ACCORDINGLY.
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Dated: July 6, 2018                s/John R. Tunheim
at Minneapolis, Minnesota          JOHN R. TUNHEIM
                                   Chief Judge
                                   United States District Court
